884 F.2d 1389Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Steven Eugene SMITH, Plaintiff-Appellant,v.John BROWN, Warden, PHP Corporation, Ms. Sword, ArnoldHopkins, Commissioner of Corrections, Defendants-Appellees.
    No. 89-7568.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 28, 1989.Decided Aug. 17, 1989.
    
      Steven Eugene Smith, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Maureen Mullen Dove Office of the Attorney General of Maryland, Paul T. Cuzmanes, Wilson, Elser, Moskowitz, Edelman &amp; Dicker, for appellees.
      Before WIDENER, K.K. HALL, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Steven Eugene Smith appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Brown, C/A No. 88-2315-JFM (D.Md. Feb. 22, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    